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                   CORSAIR GAMING, INC. and CORSAIR
          11       MEMORY, INC.

          12
                                               UNITED STATES DISTRICT COURT
          13
                                             NORTHERN DISTRICT OF CALIFORNIA
          14
                                                   SAN FRANCISCO DIVISION
          15

          16
                   ASETEK DANMARK A/S,                            Case No. 3:19-cv-00410-EMC
          17
                                    Plaintiff and                 DEFENDANTS’ REPLY IN SUPPORT OF ITS
          18                        Counter-defendant,            MOTION TO EXCLUDE CERTAIN
                                                                  OPINIONS OF DR. DAVID B. TUCKERMAN
          19              v.                                      REGARDING INVALIDITY OF THE
                                                                  ASSERTED COOLIT PATENTS, NON-
          20       COOLIT SYSTEMS, INC.,                          INFRINGEMENT OF THE ASSERTED
                                                                  COOLIT PATENTS, AND INFRINGEMENT
          21                        Defendant and                 OF THE ASSERTED ASETEK PATENT
                                    Counter-claimant,
          22                                                      Date:         May 5, 2022
                   CORSAIR GAMING, INC. and CORSAIR               Time:         1:30 pm
          23       MEMORY, INC.,                                  Location:     Courtroom 5, 17th Floor
                                                                  Judge:        Hon. Edward M. Chen
          24                         Defendants.

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               1   I.     INTRODUCTION

               2          Faced with a shaky (or nonexistent) foundation for Dr. Tuckerman’s opinions, Asetek’s

               3   Opposition misrepresents the law and mischaracterizes facts in an attempt to save Dr. Tuckerman from

               4   exclusion. Despite Asetek’s protestations to the contrary:

               5              •   CoolIT did and does dispute the reliability or appropriateness of Dr. Tuckerman’s

               6                  belated methodology for “microchannels”;

               7              •   CoolIT did articulate prejudice that it still suffers;

               8              •   it is not reasonable under Fed. R. Evid. 703 for Dr. Tuckerman to rely on pure attorney

               9                  representation and double hearsay in forming his opinions; and

          10                  •   Dr. Tuckerman does need to know what a product is or does to render an opinion about

          11                      whether it is an acceptable and available non-infringing alternative.

          12              The Opposition further calls into question whether Dr. Tuckerman prepared his Invalidity and

          13       Non-Infringement Rebuttal Reports, as Asetek admits its counsel wrote his drafts and tries to justify,

          14       with inapposite case law, why Dr. Tilton’s opinions appear throughout both reports.

          15              With respect to Dr. Tuckerman’s DOE opinions, the Opposition also offers nothing more than

          16       counsel’s opinions offered through the mouth of the expert without evidentiary support. As an initial

          17       matter, Dr. Tuckerman’s opinions do not, and cannot, stand on their own. He never performed an

          18       independent function-way-result test nor employed the insubstantial difference methodology required

          19       under DOE and instead relies on Dr. Stein’s report and opinion, which is the subject of a co-pending

          20       Daubert motion. Beyond his reliance on Dr. Stein’s faulty opinion, Dr. Tuckerman’s opinions

          21       attempting to equate “curved” with “nonradial” are also unreliable because they only consider impeller

          22       blades in two dimensions rather than in their real-life three dimensions, and his opinions on the original

          23       “curved” limitation would literally capture its equivalents’ antithesis: straight “radial blades,” as

          24       admitted by Dr. Stein. Asetek also cannot explain away the inconsistencies in the various and

          25       conflicting definitions of “radial” by Asetek’s own experts. Dr. Tuckerman’s DOE opinions should

          26       be stricken.

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               1   II.     ARGUMENT

               2           A.     Asetek’s arguments against exclusion of Dr. Tuckerman’s opinions on
                                  Antarctica’s channels are unavailing.
               3
                                  1.     Dr. Tuckerman’s deposition testimony does not cure his Invalidity
               4                         Report’s lack of disclosure regarding “microchannels.”

               5           Asetek does not dispute that Dr. Tuckerman offers ipse dixit numbers for Antarctica’s

               6   “microchannels” in his Invalidity Report.1 Nor does Asetek dispute or try to explain why Dr.

               7   Tuckerman’s report only relies on Mr. Eriksen’s uncorroborated and speculative testimony for support.

               8   It also makes no attempt whatsoever to substantially justify why Dr. Tuckerman failed to record

               9   measurements of the Antarctica channel widths or proffer evidence demonstrating his methodology.

          10       Indeed, Dr. Tuckerman testified that Asetek’s counsel never asked him to—even after Asetek’s counsel

          11       witnessed Dr. Pokharna take and record measurements at his June 25, 2021 inspection of the purported

          12       Antarctica sample at the offices of Asetek’s counsel, and after receiving photographs and videos

          13       showing Dr. Pokharna’s measurements and methodology on July 8, 2021. (See Ex. 52 at 15:12-16:3;

          14       Ex. 223 (Declaration of Himanshu Pokharna, Ph.D.) ¶ 4.)

          15               Instead, Asetek makes two dizzying allegations in its defense. First, Asetek claims that the

          16       Court should disregard this Daubert challenge because CoolIT does not dispute the reliability or

          17       appropriateness of Dr. Tuckerman’s methodology for measuring channel widths in Antarctica (which

          18       1
                     Asetek seems to say that Dr. Tuckerman’s ipse dixit conclusions are sufficient because he swore
                   under penalty of perjury in his Invalidity Report to all statements made therein. Setting aside that
          19       swearing under penalty of perjury is not required for expert reports, it does not absolve Dr. Tuckerman
                   of his obligations under Fed. R. Civ. P. 26 to prepare a complete written report. Nor is it the proper
          20       focus for the Daubert inquiry. See DataQuill Ltd. v. Handspring, Inc., No. 01-cv-4635, 2003 WL
                   737785, at *4 (N.D. Ill. Feb. 28, 2003) (excluding expert opinions as unreliable where expert signed
          21       his report under penalty of perjury).
          22       Regardless, Dr. Tuckerman’s “swearing under penalty of perjury” is not factually persuasive. For
                   example, while the Materials Considered to his Non-Infringement Rebuttal Report list does not include
          23       Dr. Tilton’s Corrected Supplemental Declaration from IPR2020-00825, two paragraphs from that
                   declaration nevertheless appear virtually verbatim in his Non-Infringement Rebuttal Report. Either
          24       Dr. Tilton perjured himself, or those opinions are not his own.
                   2
          25         All references to “Ex. 1” through “Ex. 21” are to the exhibits attached to Declaration of Reuben H.
                   Chen in Support of Defendants’ Motion to Exclude Certain Opinions of Dr. David B. Tuckerman
          26       Regarding Invalidity of the Asserted CoolIT Patents, Non-infringement of the Asserted CoolIT
                   Patents, and Infringement of the Asserted Asetek Patent (ECF No. 397-1), filed on March 31, 2022,
          27       unless otherwise noted.
                   3
                     All references to “Ex. 22” through “Ex. 27” are to the exhibits attached to the Reply Declaration of
          28       Reuben H. Chen in support of this Reply brief, being filed concurrently herewith.
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               1   CoolIT absolutely disputes). (See ECF No. 422, Asetek’s Opposition (“Opp.”) at 4.) But even

               2   reaching that conclusion requires an assumption that Dr. Tuckerman presented evidence of his

               3   measurements and methodology for CoolIT, Dr. Pokharna, and the Court to evaluate for reliability

               4   and appropriateness. He did not. (See Ex. 5.) Asetek does not (because it cannot) reasonably dispute

               5   that Dr. Tuckerman failed to disclose any data or methodology in his Invalidity Report. It was only

               6   after exchange of reports that Dr. Tuckerman discussed an unverifiable methodology during his

               7   depositions. There is still no documentary evidence of what Dr. Tuckerman did or did not do.

               8          Even if the Court accepted Dr. Tuckerman’s untimely recitation of a “methodology,” its

               9   reliability and appropriateness are most certainly in dispute. Asetek omits that its own counsel pressed

          10       Dr. Pokharna on whether he measured fins at the base of the heat spreader plate in the purported

          11       Antarctica physical sample.      Dr. Pokharna emphasized how nonsensical and unreliable Dr.

          12       Tuckerman’s recited methodology was:

          13              Q. When you measured … the gap between the two adjacent fins, you took that
                          measurement … at the top of the gap between the fins; right?
          14

          15              A. Yes. Those gaps appeared to be machined where I would expect the gap on top
                          to be the representative of the entire gap. If at all, the -- because of -- the reason
          16              they are machined and not cast or not extruded, the top might be the narrowest point
                          on this. And, therefore, I inspected the device for its substantial kind of gap in
          17              uniform because, again, if it were not a machined part and extruded part, like the
          18              aluminum channels might be, then I you could always go back and -- you know, in
                          a U, take some distance measurement that is kind of like -- you know, could be
          19              anything. But to a person of ordinary skill in the art, a mechanical engineer who
                          understands how these devices function, how these devices are machined, I believe
          20              I took the measurement at the right place, which is the top.
          21              Q. And I'm not asking you what is the best way to take measurement… I just want
          22              to get it -- I just want to note, when you inspected the Antarctica device in Asetek's
                          counsel's office, you only took measurements at the -- at the top of the
          23              microchannels and you did not take any measurements at the base; right?

          24              A. Yeah. Because at the base it is fraught with most errors and …
                          inconsistencies, which are pretty apparent in this entire argument from … Dr.
          25              Tuckerman, which, you know, sometimes talks .6 to .7 and sometimes talk
          26              about .9 to point -- 1.0. And sometimes talks about .93. But he -- I can explain
                          away a lot those inconsistencies because the way the measurement was done was
          27              not in a place that was appropriate for the measurement of the gap of the channel.

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               1          But to answer your question, yes, I did not measure it at a place where I did not
                          think it was reasonable to measure that gap.
               2

               3          Q. So you -- so you did not measure the … microchannels of the Antarctica at the
                          base; right?
               4
                          A. Yeah. Not at the point where there is like -- there is a possibility of inconsistent
               5          measurement, where there is a possibility of making a measurement that is smaller
                          than the tool that was used to create that gap. That's clearly inconsistent and not
               6          really representative of the gap. The tool was .93 based on the testimony that I read
               7          from Dr. Tuckerman. And he measured .9. There is no person -- a person of
                          ordinary skill -- or there is no reasonable person who can say that they can make
               8          a gap using a tool to make that gap that is smaller than the tool itself. Just
                          simply physically impossible. And that's the reason that I did not take a
               9          measurement at a place which is indeterminate because it has a feature that is, you
                          know, just impossible to really measure. I can measure literally, probably even,
          10
                          you know, zero width … at the bottom of that particular section. Right. That
          11              is not representative of the gap. To a person of ordinary skill, when you see a
                          gap, this is the gap that is present between those two channels. And that's what
          12              I measured.

          13              Q. Dr. Pokharna, did you or did you not take any measurements of the
                          microchannels in the Antarctica device at the base of the channel?
          14

          15              A. The base of the channels are indeterminant; so I did not take any
                          measurement in the place where I did not think it made any sense.
          16
                          Q. Dr. Pokharna, did you or did you not take any measurements of the
          17              microchannels in the Antarctica device at the base of the microchannel?
          18
                          A I could take a zero measurement also at the base, and I think that is also
          19              nonsensical.

          20       (Ex. 23 (1/10/2022 Pokharna Depo. Tr.) at 118:13-122:21 (emphasis added).) In other words, the

          21       reliability and appropriateness of Dr. Tuckerman’s “methodology” have always been in dispute.

          22       Indeed, there is no way to make heads or tails of whether Dr. Tuckerman reliably applied his purported

          23       methodology, because he provided no evidence showing what he did or the results that he received.

          24       CoolIT and the Court are left with his uncorroborated, belated word and nothing more.

          25                      2.     Asetek’s inapposite case law does not inoculate Dr. Tuckerman’s opinions
                                         from exclusion.
          26
                          Asetek’s reliance on Godo Kaisha is misplaced. In Godo Kaisha, the expert disclosed a
          27
                   methodology within his report, and the Court’s opinion discussed the sufficiency of that disclosure.
          28
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               1   Godo Kaisha IP Bridge 1 v. Broadcom Ltd., No. 2:16-cv-134-JRG-RSP, 2017 WL 2839492, at *1-2

               2   (E.D. Tex. Apr. 19, 2017). The Court discussed how, in measuring a distance between gate electrodes,

               3   the expert “measured the distance on a high-resolution image” and that, “[i]n his report, [the expert]

               4   includes superimposed red arrows and circles to indicate approximately where he made these

               5   measurements.” Id. at *1 (emphasis added). The Court reasoned that the expert’s opinions were

               6   “verifiable because he disclosed his methodology.” Id. at *2. Here, there is no dispute that Dr.

               7   Tuckerman failed to disclose any facts, data, or methodology animating the ipse dixit numbers in his

               8   Invalidity Report. His results cannot be verified because they were never recorded. No one knows or

               9   can test, for example: (1) what Dr. Tuckerman means by “the base” of the heat spreader plate; (2) the

          10       specific tool he used; (3) the degrees of precision for that tool, (4) how he measured the channels at

          11       “the base” using the tool; (5) which and how many channels he measured in the heat spreader plate;

          12       (6) how he calculated his ipse dixit numbers (e.g., is it an average, does it factor in uncertainty and

          13       manufacturing tolerances, what the distribution of his measurements show); or (7) if or how he

          14       accounted for the errors and uncertainties that Dr. Pokharna identified during his deposition.

          15              Second, Asetek relies on two out-of-circuit Delaware district court cases, nCube and Power

          16       Integrations, to argue that Fed. R. Civ. P. 26 permits Dr. Tuckerman’s deposition testimony because

          17       it is “consistent with his Report and is a reasonable synthesis and/or elaboration of the opinions

          18       contained in [the] report.” (Opp. at 5.) But no “reasonable synthesis or elaboration” exists where an

          19       expert, like Dr. Tuckerman, provides (some) foundation for his opinion for the first time at deposition

          20       and fails to supply any corroboration—otherwise, what would be the point of the Rule?

          21              Citing cases and Advisory Committee Notes, the Seventh Circuit described the purpose of Rule

          22       26, and this reasoning that has been adopted by numerous courts in this District:

          23              Rule 26(a) expert reports must be “detailed and complete.” A complete report must
                          include the substance of the testimony which an expert is expected to give on direct
          24              examination together with the reasons therefor. The report must be complete such
                          that opposing counsel is not forced to depose an expert in order to avoid ambush at
          25              trial; and moreover the report must be sufficiently complete so as to shorten or
          26              decrease the need for expert depositions and thus to conserve resources. Expert
                          reports must not be sketchy, vague or preliminary in nature. Disclosures must not
          27              be used as a means to extend a discovery deadline. Expert reports must include
                          “how” and “why” the expert reached a particular result, not merely the
          28              expert's conclusory opinions.
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               1            Compliance with Rule 26, in particular with the requirement of total disclosure, is
                            emphasized in the Advisory Committee comments. The “incentive for total
               2            disclosure” is the threat that expert testimony not disclosed in accordance with the
               3            rule can be excluded pursuant to Rule 37(c)(1). The availability of this sanction
                            “put[s] teeth into the rule.” The rule presents alternatives less severe than exclusion
               4            of the expert testimony, however. If the expert's report contains only incomplete
                            opinions, the court may choose to restrict the expert's testimony to those opinions
               5            alone.
               6   Salgado v. Gen. Motors Corp., 150 F.3d 735, 741 n.6 (7th Cir. 1998) (citations omitted) (emphasis

               7   added). See, e.g., Alvarado v. FedEx Corp., 2006 WL 1761276, at *3-4 (N.D. Cal. June 27, 2006)

               8   (citing Salgado and excluding expert opinions violating Rule 26 where counsel “repeatedly displayed

               9   a flagrant disregard for the Federal Rules of Civil Procedure and the Local Rules of this Court.”). A

          10       court in this District further recognized in Atmel Corp. v. Info. Storage Devices, Inc. that:

          11                To allow now [the expert] to testify on direct examination to matters deliberately
                            ignored in his Rule 26(a)(2)(B) report would simply encourage litigants to evade
          12                the expert-disclosure rules. It would disrupt the orderly process of trial preparation
                            to require a new round of expert reports and a new round of expert depositions. And
          13                the Court does not have resources to spare in order to manage cases in which
          14                counsel create foreseeable delay through violation of the rules.
                   189 F.R.D. 410, 416 (N.D. Cal. 1999) (citing Salgado and excluding expert methodology provided
          15
                   during deposition). Accord Wong v. Regents of the Univ. of Cal., 379 F.3d 1097, 1103 (9th Cir. 2004).4
          16
                   nCube and Power Integrations do not state otherwise and are altogether inapplicable. Both cases
          17
                   address Rule 26 in the context of expert hearing or trial testimony made after expert discovery. They
          18
                   certainly do not stand for the proposition that Dr. Tuckerman can backfill Rule 26 deficiencies in his
          19
                   report, going to the foundation of his ipse dixit conclusions, during deposition.
          20
                            In an attempt to evade the “bite” of Rule 37(c)(1) sanctions, Asetek circularly argues that
          21
                   CoolIT’s opening brief somehow fails to identify prejudice or harm for Dr. Tuckerman’s belated
          22

          23       4
                       The Wong court likewise emphasized:
          24                In these days of heavy caseloads, trial courts in both the federal and state systems
                            routinely set schedules and establish deadlines to foster the efficient treatment and
          25                resolution of cases. Those efforts will be successful only if the deadlines are taken
                            seriously by the parties, and the best way to encourage that is to enforce the
          26                deadlines. Parties must understand that they will pay a price for failure to comply
                            strictly with scheduling and other orders, and that failure to do so may properly
          27                support severe sanctions and exclusions of evidence.
          28       Id.
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               1   explanation of a “methodology.” (Opp. at 6.) But CoolIT repeatedly described how Dr. Tuckerman’s

               2   failure to disclose the data and methodology to corroborate his ipse dixit numbers prevented CoolIT,

               3   Dr. Pokharna, and the Court from properly investigating and evaluating the reliability of Dr.

               4   Tuckerman’s opinions. (ECF No. 397 at 2, 10-11 (“Defendants and the Court are left only with his

               5   contradictory ‘word’ as the basis that he measured the heat spreader plate grooves… No assessment

               6   of the reliability of Dr. Tuckerman’s opinion can be made.”), 12-13 (explaining, inter alia, that Dr.

               7   Pokharna had no way to independently test and opine on Dr. Tuckerman’s new purported

               8   methodology).)

               9          Asetek now tries to rewrite the record by claiming Dr. Tuckerman’s Invalidity Report

          10       contained the “general testimony” that he “reasonably elaborated” on during his deposition. But, as

          11       described above, whatever “elaboration” Dr. Tuckerman could provide through deposition does not

          12       supply the methodological foundation for his “microchannels” conclusion in the Invalidity Report. He

          13       never recorded or provided evidence of any methodology or data, and critically, counsel never asked

          14       him to do so. Atmel Corp., 189 F.R.D. at 417 (excluding expert opinion where expert did not apply

          15       professionally reasonable practices to form opinion at suggestion of litigation counsel).            Dr.

          16       Tuckerman simply cannot elaborate on that which was never there in the first place.

          17                      3.      Exhibit 275 is double hearsay and improper for Dr. Tuckerman to rely on
                                          under Fed. R. Evid. 703.
          18
                          Asetek misunderstands CoolIT’s objections to Dr. Tuckerman’s deposition testimony related
          19
                   to Exhibit 275, arguing that Fed. R. Evid. 703 permits an expert to rely on hearsay. The possibility
          20
                   that an expert may rely on hearsay is not in dispute. But, as explained in CoolIT’s opening brief and
          21
                   related Motion to Strike Exhibit 275, expert reliance on hearsay is not unqualified. It is the exception,
          22
                   not the rule. The Supreme Court in Daubert explained that “Rule 703 provides that expert opinions
          23
                   based on otherwise inadmissible hearsay are to be admitted only if the facts or data are ‘of a type
          24
                   reasonably relied upon by experts in the particular field in forming opinions or inferences upon the
          25
                   subject.” Daubert v. Merrell Dow Pharms., 509 U.S. 579, 595 (1993) (emphasis added). The
          26
                   Opposition does not dispute that Exhibit 275 is double hearsay and provides no explanation for why
          27
                   Dr. Tuckerman’s reliance on Exhibit 275 is “of a type reasonably relied upon by experts” in his field.
          28
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               1             As discussed in the opening brief, Dr. Tuckerman can only contextualize and render opinions

               2   on the contents of Exhibit 275 by accepting as true the uncorroborated representations from Asetek’s

               3   counsel about what the image shows—hearsay—when the image itself is hearsay of a machining tool

               4   (and not linked to the physical sample Dr. Tuckerman relies on in his Invalidity Report). Such reliance

               5   is unreasonable, and Dr. Tuckerman’s opinions interpreting the belated Exhibit 275 should be stricken.

               6   See, e.g., Tubular Rollers, LLC v. Maximus Oilfield Prods., LLC, No. 4:19-CV-03113, 2021 WL

               7   5991744, at *1-2 (S.D. Tex. Dec. 16, 2021) (excluding expert opinions grounded in double hearsay).

               8             Asetek also disputes that Dr. Tuckerman could have read Exhibit 275. But Asetek’s follow-

               9   on arguments confirm time and again that Dr. Tuckerman drew inferences based on representations

          10       from counsel. (Opp.at 9-10.) They could not have come directly from Asetek, because, as Dr.

          11       Tuckerman admits, he never spoke to anyone at Asetek. Asetek also argues that Dr. Tuckerman could

          12       read certain elements of Exhibit 275 that were “in English,” pointing to a truncated set of numbers on

          13       a box label. Numbers do not separate Danish from English, and nothing in the image suggests what

          14       this incomplete label describes, let alone that it is a “legend”5—unless Dr. Tuckerman made logical

          15       leaps based on representations from Asetek’s counsel as to what Exhibit 275 shows.

          16                 Dr. Tuckerman’s “microchannels” opinions should thus be excluded in their entirety.

          17                 B.     Dr. Tuckerman was unfamiliar with the products he proposed as non-infringing
                                    alternatives and his opinions regarding those products should be excluded.
          18
                             As discussed in CoolIT’s opening brief, Dr. Tuckerman admitted that he was “not at all”
          19
                   familiar with Asetek’s Gen 3 product and had not inspected or performance tested the CoolerMaster
          20
                   Liquid 240R product. He therefore lacks an independent basis to assess whether the thermal
          21
                   performance of these products would be acceptable to Asetek customers, let alone whether these
          22
                   products do or do not infringe. The Opposition attempts several sleights-of-hand to argue that Dr.
          23
                   Tuckerman’s baseless testimony was proper, but none withstand scrutiny.
          24
                             First, Asetek tries to cabin Dr. Tuckerman’s admissions to a failure to personally inspect. That
          25
                   is not what he said. With respect to the Gen 3 product, he said he was “[n]ot at all” familiar with the
          26
                   Asetek Gen 3 product and could not identify whether or not it has a “split-flow cold plate.” (Ex. 5 at
          27

          28       5
                       The very characterization of the label as a “legend” is a representation from Asetek’s counsel.
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               1   67:2-11.) Asetek asserts that Dr. Tuckerman reviewed Asetek documentation produced in discovery

               2   that discloses that Asetek’s Gen 3 does not have a split-flow design, pointing to its Exhibit E. The

               3   record does not support this assertion, as Exhibit E is not disclosed in the “Materials Considered” of

               4   Dr. Tuckerman’s Non-Infringement Rebuttal Report. (See Ex. 8.) It is also further indicia that Dr.

               5   Tuckerman did not prepare his report, as he discussed how the Gen 3 plate implements “end-to-end

               6   flow” in paragraph 84 but later testified that he lacks any familiarity with the Gen 3 product.

               7          Asetek now claims that it will have Mr. Eriksen testify “whether a non-split flow design similar

               8   to Gen 3 would be acceptable to customers” instead of Mr. Tuckerman. This about-face does not

               9   negate that Dr. Tuckerman baselessly opined on the availability and customer acceptability of Gen 3

          10       in his Non-Infringement Rebuttal Report.6 Dr. Mody’s rebuttal report confirmed as much, explaining

          11       that “Dr. David B. Tuckerman … expressed opinions concerning the availability and acceptability

          12       of non-infringing designs which I have considered” and pointing to Dr. Tuckerman’s Non-

          13       Infringement Rebuttal Report. (ECF No. 392-3, ¶ 40 (emphasis added); see also Ex. 8, ¶ 84 (“Asetek

          14       could possibly revert to its non-split flow (i.e., end-to-end flow) design and such redesigned products

          15       would be acceptable non-infringing alternatives to the accused Gen 4, 5, 6, and 7 desktop

          16       products.”) (emphasis added).) As such, Dr. Tuckerman’s opinions on the customer availability and

          17       acceptability for Gen 3, a product he is “not at all” familiar with, should be stricken.

          18              Having Mr. Eriksen opine on the customer acceptability of Gen 3 at this late juncture is

          19       procedurally improper. CoolIT specifically noticed Asetek under Fed. R. Civ. P. 30(b)(6) to put up a

          20       witness on “[a]ny product Asetek contends is a non-infringing substitute or alternative to the CoolIT

          21       Patents-in-Suit.” (See Ex. 24 (Depo. Topic No. 21) at 7.) Asetek designated Mr. Eriksen for this topic

          22       (see Ex. 25), who refused to answer questions from CoolIT’s counsel on this issue under the veil of

          23       “privilege” and never mentioned Gen 3 in this context. (See Ex. 26 (8/25/2021 Eriksen Depo. Tr.) at

          24       189:15-194:19.) Mr. Eriksen should not now be permitted to testify to this topic at trial.

          25              Asetek’s arguments against excluding Dr. Tuckerman’s opinions on the CoolerMaster Liquid

          26       240R product are also unavailing because, as discussed in CoolIT’s opening brief, he does not know

          27
                   6
                    As discussed in CoolIT’s opening brief, Dr. Tuckerman did not speak to anyone at Asetek, including
          28       Mr. Eriksen.
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               1   whether this product infringes the Asserted CoolIT Patents or if Asetek’s customers would find it

               2   acceptable. Asetek admits that Dr. Tuckerman only assumes that this product does not infringe based

               3   on representations again from Asetek’s counsel. Paragraph 84 does not refer to any deposition

               4   testimony in support of Dr. Tuckerman’s “understanding,” let alone the citations that the Opposition

               5   now provides. Attorney representations, a form of hearsay from a non-technical and interested party,

               6   are not a reliable basis for forming an expert opinion under Fed. R. Evid. 703. E.g., Orthoflex, Inc. v.

               7   ThermoTek, Inc., 986 F. Supp. 2d 776, 798-99 (N.D. Tex. 2013) (“Although in forming an independent

               8   opinion an expert can rely on information provided by a party’s attorney, an expert cannot forgo his

               9   own independent analysis and rely exclusively on what an interested party tells him.”); DataQuill,

          10       2003 WL 737785, at *4 (“We doubt the value to the trier of fact of a hired expert’s opinion when the

          11       party hiring him has put words in his mouth … leaving him, in essence, a highly qualified puppet.”);

          12       Numatics, Inc. v. Balluff, Inc., 66 F. Supp. 3d 934, 941-42 (E.D. Mich. 2014).

          13                 Dr. Tuckerman also did nothing to confirm whether the CoolerMaster Liquid 240R product

          14       would be acceptable to Asetek customers. He never talked to anyone at Asetek, conducted any surveys

          15       to determine Asetek customer requirements, or laid hands on the CoolerMaster Liquid 240R product

          16       so he could reasonably determine the technical differences between the CoolerMaster product and

          17       Asetek’s Gen 4, 5, 6, and 7 products, and whether those differences would have been acceptable to

          18       Asetek’s customers. (Ex. 3 at 79:22-81:1, 82:16-23.) He relies purely on a CoolIT testing document

          19       that shows the CoolerMaster Liquid 240R product has worse thermal performance than NZXT Kraken

          20       x53, an Asetek Gen 7 product accused of infringement in this case. (See ECF No. 421-3, Ex. F at 5;

          21       see also Ex. 27 (CoolIT’s 11/17/2020 Infringement Contentions) at 3.) Accordingly, Dr. Tuckerman’s

          22       opinions on whether Asetek’s Gen 3 product and the CoolerMaster Liquid 240R are acceptable non-

          23       infringement alternatives should be excluded.

          24                 C.     Asetek marshals inapposite case law and fails to account for the totality of indicia
                                    suggesting Dr. Tuckerman did not “prepare” his reports under Fed. R. Civ. P. 26
          25
                             Proof that Dr. Tuckerman did not “prepare” his reports lies in what the Opposition does not
          26
                   say.7 Asetek does not dispute that the charts attached to Dr. Tuckerman’s Invalidity Report recycle
          27

          28       7
                       No rational actor would openly admit to nominal participation in preparing their reports, and so the
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               1   annotated mappings from Dr. Tilton’s expert declaration in IPR2020-00825 (not cited in Dr.

               2   Tuckerman’s Materials Considered for his Invalidity Report). Nor does Asetek contest that paragraphs

               3   48 and 50 of Dr. Tuckerman’s Non-Infringement Report are virtually verbatim copies of paragraphs

               4   2 and 4 of the Corrected Supplemental Declaration from Dr. Tilton in IPR2020-00825 (not cited in

               5   Dr. Tuckerman’s Materials Considered for his Non-Infringement Rebuttal Report). Asetek does not

               6   dispute that its counsel penned Dr. Tilton’s initial drafts. Rather, Asetek reproduces testimony

               7   showing Dr. Tuckerman evaded questions to quantify how much of his report he wrote and/or changed

               8   after misrepresenting to CoolIT’s counsel under oath that he wrote his report. (Opp. at 16.)

               9          Asetek justifies Dr. Tuckerman’s unfamiliarity with his reports through a series of excuses and

          10       ad hominem attacks on CoolIT’s counsel. None are persuasive. Asetek claims that Dr. Tuckerman

          11       was “thrown off by IPR jargon and procedural terms such as ‘Final Written Decision,’” but that does

          12       not explain why he tried to conflate an expert IPR declaration—which he clearly knows about given

          13       the Opposition admits he had prepared one for Asetek before (see Opp. at 14)—with a tribunal

          14       decision. A more plausible explanation is that Dr. Tuckerman realized during his deposition that

          15       Asetek’s counsel ported Dr. Tilton’s opinions into his expert report, and he ran damage control.

          16              Asetek offers little explanation (beyond attacking counsel) to demystify why Dr. Tuckerman

          17       (1) did not understand basic obviousness concepts, including his grounds, despite purporting to offer

          18       his own obviousness opinions; or (2) why he took inordinately long to answer basic questions about

          19       his reports (if he did at all).8 Likewise, the Opposition is silent on why two paragraphs from Dr.

          20       Tilton’s IPR declaration appear nearly verbatim in Dr. Tuckerman’s report, except to echo Dr.

          21       Tuckerman’s testimony that there is “no clearer or better way to put” almost 300 words of text.9

          22       Asetek seems to suggest that Dr. Tuckerman’s behavior can be explained away because he “submitted

          23
                   proper inquiry should consider more than Dr. Tuckerman’s bald testimony; it requires close attention
          24       to detail within the record generally.
                   8
                     Dr. Tuckerman’s lack of familiarity with basic obviousness concepts is curious, given that he
          25       regularly uses terms of art in patent law throughout both reports. (See, e.g., Ex. 8, ¶ 48 (“inherent
                   disclosure”), ¶¶ 47, 52, 59 (“written description support”); Ex. 1, ¶¶ 31, 66, 76, 114 (“reasonable
          26       expectation of success”), ¶¶ 66, 76 (“rearrangement/reconfiguration of prior art elements according to
                   known methods to obtain predictable results”).)
          27       9
                     The first three sentences in paragraph 49 in Dr. Tuckerman’s Non-Infringement Report are also
                   virtually verbatim to paragraph 3 in Dr. Tilton’s Corrected Supplemental Declaration. (Compare Ex.
          28       8, ¶ 49, with Ex. 17, ¶ 3.)
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               1   four lengthy reports, covering a range of subject matter” and had not worked as an expert before.

               2   (Opp. at 17.) But Dr. Tuckerman’s inexperience, while relatable, cannot legitimize Asetek’s failure

               3   to satisfy its Rule 26 obligations. Moreover, Dr. Tuckerman and Asetek’s counsel set Dr. Tuckerman’s

               4   deposition schedule where he sat for four depositions across two weeks, where each deposition was

               5   directed to a single report. Dr. Tuckerman had adequate time to prepare, if he had prepared his reports.

               6          Asetek attacks individual examples from CoolIT’s opening brief, citing to Accentra, Icon-IP,

               7   NetFuel and Seitz, but none of these cases present facts evincing the multiple indicia of a Rule 26

               8   violation present here and discussed in CoolIT’s briefs. In NetFuel, the record demonstrated the expert

               9   drafted significant parts of his report, whereas Dr. Tuckerman admits Asetek’s counsel wrote his initial

          10       drafts here. The Accentra court denied exclusion in a “close call” where the expert’s participation

          11       approached “the limits of what Rule 26(a)(2)(B) will allow” for a five-page report at issue where the

          12       expert verbally discussed with counsel her opinions while counsel drafted the report at the same time

          13       over three-to-four hours. NetFuel and Accentra are a far cry from the present circumstances, where

          14       Asetek’s counsel penned the first drafts of two reports that collectively span hundreds of pages.

          15              Sietz similarly discusses a scenario where counsel wrote the first draft but “the substantive

          16       content was based on what [the expert] communicated to [counsel]” after the expert reviewed relevant

          17       material, had numerous meetings with counsel, and formed his own opinions on the matter. Contrary

          18       to Sietz, Dr. Tuckerman’s testimony, however, identifies that most of the “back and forth” occurred

          19       after the initial drafts. Similarly, the court in Icon-IP only declined to strike an expert report under

          20       Rule 37 where information, analysis, and opinions in the report came from the expert, inapposite to

          21       the present facts where Dr. Tilton’s opinions appear (sometimes verbatim) throughout Dr.

          22       Tuckerman’s reports. Asetek also relies on NetFuel to justify including Dr. Tilton’s opinions in Dr.

          23       Tuckerman’s Non-Infringement Rebuttal Report. But the court in NetFuel agreed with the Icon-IP

          24       decision because claim charts were necessarily directed to the same claims and prior art references.

          25       That is fundamentally different than mirroring annotations to prior art references or verbatim copying

          26       of technical explanations from another expert in an IPR that Dr. Tuckerman never participated in.

          27              D.      Dr. Tuckerman’s DOE opinions are demonstratively unreliable

          28              Contrary to Asetek’s incorrect assertion, Dr. Tuckerman’s DOE opinions on “curved” versus
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               1   “straight” blades do not, and cannot, stand on their own.             The reason is straightforward—

               2   Dr. Tuckerman never performed the independent function-way-result test nor employed the

               3   insubstantial difference methodology required under DOE. (See, e.g., Opp. at 20 (“there is no test or

               4   methodology involved in Dr. Tuckerman’s DOE opinions”); see also ECF No. 425 (Asetek Opp. to

               5   Mtn. to Excl. Stein) at 5-6 (“Dr. Tuckerman … relied on Dr. Stein’s report and opinion … under the

               6   doctrine of equivalents.”) (emphasis added).) As explained in the co-pending Daubert motion on the

               7   Expert Report of Dr. Carl-Frederik Stein Regarding Pump Impeller Designs and Performances and the

               8   reply in support, Dr. Stein’s opinions are irrelevant and unreliable for simulating the wrong things.

               9   And thus Dr. Tuckerman’s opinions, to the extent they rely on Dr. Stein should also be stricken.

          10              Even without reliance on Dr. Stein’s opinion, Dr. Tuckerman’s opinions are unreliable because

          11       they are based on a demonstratively illogical hypothetical claim that equates “curved blades” to “non-

          12       radial blades.” Indeed, Dr. Tuckerman admitted that his DOE opinions were based on incorrect

          13       definitions of “radial” versus “non-radial” blades and attempted to correct them during his deposition.

          14       Dr. Stein acknowledged the error by calling Dr. Tuckerman’s definitions a “typo” and offering his

          15       own definitions of “radial” versus “non-radial” blades. (Opening Br. at 21; Ex. 20 at 68:3-18.)

          16       Asetek’s only answer is to try to deny these mistakes. But they establish the unreliability of the reports.

          17                      1.      Dr. Tuckerman’s DOE opinions are unreliable because the “curved
                                          blades” limitation captures its equivalents’ antithesis--“radial blades”
          18

          19              In its opposition, Asetek does not, nor can it, provide a logical basis for Dr. Tuckerman’s and

          20       Dr. Stein’s arguments that “curved blades” are equivalents of “non-radial” blades. But common sense

          21       dictates that “the range of equivalents cannot be divorced from the scope of the claims.” Vehicular

          22       Techs. Corp. v. Titan Wheel Int’l, Inc., 212 F.3d 1377, 1382 (Fed. Cir. 2000). The two experts’

          23       “curved” equivalents are so impermissibly divorced from the original limitation’s admitted nonlinear

          24       requirement that “curved blades” can now capture their equivalents’ antithesis: “radial blades” under

          25       the doctors’ definitions. (See Ex. 19 (12/30/2021 Tuckerman Tr.) at 53:6-8 (“curved blade [is] not

          26       everywhere linear.”) and 57:1-3 (“curve … implies … some nonlinearity”) (emphasis added).)

          27              As an initial matter, Dr. Tuckerman’s and Dr. Stein’s various definitions of straight/radial

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               1   versus curved/non-radial blades have something in common. They are all

               2   based on a two-dimensional view of the impeller and its blades by

               3   observing them along the impeller’s axis of rotation, as shown on the right.

               4   (See, e.g., Ex. 28 (12/31/2021 Tuckerman Tr.) at 198:12-15 (“the

               5   infringement report was in the context of a … two-dimensional projection”)

               6   (emphasis added); see also Ex. 19 (12/30/2021 Tuckerman Tr.) at 53:9-23

               7   (“Q What is your definition of radial blades? A … as I’m looking down on
                                                                                                        Ex. 11 at 63
               8   the axis of rotation, … the blades that I’m looking at would need to be along     (excerpt; thin red
                                                                                                    arrow original; eye
               9   the … the radius of that circle.”); see also id. at 55:22-56:13; Ex. 29          and thick red arrow
                                                                                                          added)
          10       (01/12/2022 Stein Tr.) at 179:1-3 and 284:18-24.

          11              But as admitted by both Dr. Tuckerman and Dr. Stein, the impeller

          12       blades are three dimensional objects. (See Ex. 28 (12/31/2021 Tuckerman

          13       Tr.) at 198:23-24; see also Ex. 29 (01/12/2021 Stein Tr.) at 242:15-21.) By

          14       looking at the blades only from a two-dimensional perspective along the

          15       impeller’s axis of rotation when defining the “curved” equivalents, they

          16       cause the original “curved blades” limitation to capture blades that are

          17       “radial” in two dimensions but are curved in the third dimension, as shown

          18       on the right. (See Ex. 29 (01/12/2021 Stein Tr.) at 240:2-11 (“If the impeller

          19       is viewed from the bottom, in the same axis of rotation …, does the impeller,

          20       as shown on Page 2 in Exhibit 356, satisfy your definition of a radial

          21       impeller? … THE WITNESS: If viewed as a two-dimensional on the x, this

          22       would be radial.”) (emphasis added; objection omitted); see also id. at

          23       239:7-9 and 239:24-240:1 (“Seen as a two-dimensional thing, if it was a
                                                                                                     Ex. 30 (Exhibit
          24       two-dimensional structure like this, it would be radial with my definition.”);    356 (excerpts))

          25       see also id. at 244:17-245:2 (Q. … Dr. Stein, … would you agree that the impeller shown in Exhibit

          26       356 to have curved blades? … THE WITNESS: As I said before, this plane has blades that are curved

          27       in the r, zed direction.”) (emphasis added; objection omitted).) This issue conclusively demonstrates

          28       how unreliable Dr. Tuckerman’s and Dr. Stein’s opinions based on their methodology of defining the
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               1   “curved” equivalents only on a two-dimensional plane are, when in reality impeller blades are three

               2   dimensional objects, as they also admit.10 Thus, Dr. Tuckerman’s methodology in defining the

               3   “curved” equivalents is unreliable, causing his DOE opinions to be fundamentally unreliable. His

               4   opinions, therefore, should be stricken.

               5                    2.     Asetek’s opposition does not cure Dr. Tuckerman’s illogical definitions of
                                           the “curved” equivalents nor their inconsistencies
               6

               7             Asetek’s opposition attempts to provide various excuses for the lack of reliability in Dr.

               8   Tuckerman’s DOE opinions, but none can save his opinions from being stricken. For example, Asetek

               9   cites Wilson Sporting Goods Co. v. David Geoffrey & Associates for the proposition that the

          10       equivalency doctrine is to expand the right to exclude to equivalents of what is claimed. 904 F.2d 677,

          11       684-85 (Fed. Cir. 1990). While such proposition is correct by itself without considering other factors,

          12       that is not what Asetek’s DOE theory does because, as explained above, the original “curved”

          13       limitation is now being used to literally captures its antithesis: “radial blades.” Asetek’s other excuses

          14       are all similar. For example, both experts argued that straight and radial are the same in the undefined

          15       “pump technology,” so curved is equivalent to non-radial, etc. But as already demonstrated above,

          16       defining the equivalents of “curved” as “non-radial” does not work in the real world that is three

          17       dimensional. Asetek also argues that Dr. Tuckerman’s DOE opinions do not need to be examined by

          18       settled case law on how to determine reliability. The brief then adds unsupported attorney argument

          19       that “[t]hey simply used different coordinate systems to define the term—Dr. Tuckerman using a cartesian

          20       coordinate system (x, y, z); Dr. Stein used a cylindrical coordinate system (r, θ, z).” (Opp. at 25.) But

          21       none of these excuses are supported, nor can they save Dr. Tuckerman’s unreliable DOE opinions.

          22       III.      CONCLUSION

          23                 For the foregoing reasons, Defendants respectfully request that the Court grant their Motion

          24       and exclude Dr. Tuckerman’s opinions discussed in its Motion (ECF No. 397).

          25

          26
                   10
                     Asetek’s expert attempted to explain away this issue by claiming radial but “curved” blades were
          27       not used in “pump technology.” (Ex. 29 (01/12/2022 Stein Tr.) at 285:22-286:23.) But the ’362
                   patent has no clear and unmistakable disclaimer of the captured blades. Aylus Networks, Inc. v.
          28       Apple Inc., 856 F.3d 1353, 1359 (Fed. Cir. 2017). “Pump technology” was also undefined.
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                                                       16.                 DEFENDANTS’ REPLY ISO MOTION
                                                                                  TO EXCLUDE TUCKERMAN
